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                       EXHIBIT 7
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                                                                                            USOO8432892B2


(12) United States Patent                                               (10) Patent No.:     US 8,432,892 B2
       Van Erven                                                        (45) Date of Patent:    *Apr. 30, 2013
(54)   METHOD AND SYSTEM FOR WLAN                                    (56)                    References Cited
       SYNCHRONIZATION
                                                                                      U.S. PATENT DOCUMENTS
(75) Inventor: Niels van Erven, Santa Clara, CA (US)                        5,923,702 A     7/1999 Brenner et al.
                                                                            6,693.915 B1       2/2004 Lappetelainen et al.
(73) Assignee: Hewlett-Packard Development                                  6,816.510 B1     1 1/2004 Banerjee
               Company, L.P., Houston, TX (US)                              6,917,804 B2       7/2005 Takayama et al.
                                                                            7,126,937 B2     10/2006 Crosbie et al.
                                                                            8,023,495 B1*     9/2011 van Erven ..................... 370/350
(*) Notice:        Subject to any disclaimer, the term of this        2003. O145092 A1        7/2003    Funato et al.
                   patent is extended or adjusted under 35            2005, OO58121 A1        3/2005    Santhoff et al.
                   U.S.C. 154(b) by 0 days.                           2005/0058153 A1         3/2005    Santhoff et al.
                                                                      2005/017.4953 A1        8, 2005   Ho
                   This patent is Subject to a terminal dis           2005/0243954 A1        11/2005    Li
                   claimer.                                           2006/0098606 A1         5/2006 Pandey et al.
                                                                      2006, O133394 A1        6/2006 Ware et al.
(21) Appl. No.: 13/215.937                                           * cited by examiner
(22) Filed:        Aug. 23, 2011                                     Primary Examiner — Christian Hannon
(65)                   Prior Publication Data                        (57)                      ABSTRACT
       US 2012/OO51247 A1           Mar. 1, 2012                     A first access point for a multi-channel radio system includes
                                                                     a wireless transceiver to send and receive data; and a clock,
             Related U.S. Application Data                           with the first access point to: Scan the multi-channel radio
                                                                     system to receive beacon signals transmitted from other
(60) Division of application No. 1 1/943,297, filed on Nov.          access points operating in the multi-channel radio system;
     20, 2007, now Pat. No. 8,023,495, and a continuation            determine a Received Signal Strength Indication (RSSI) level
     of application No. 1 1/102,436, filed on Apr. 8, 2005,          for each beacon signal received from another access point
       now abandoned.                                                operating in the multi-channel radio system; identify a second
                                                                     access point from which a beacon signal was received having
(51)   Int. C.
                                                                     a lowest RSSI level of all beacon signals received from other
       H04.3/06                 (2006.01)                            access points in the multi-channel radio system; and synchro
(52)   U.S. C.                                                       nize the clock with the second access point Such that a beacon
       USPC ............................ 370/350; 370/345; 370/445   signal transmitted by the first access point is transmitted at the
(58) Field of Classification Search .......... 370/229 240,          same time as a beacon signal from the second access point.
                                  370/445-448,210, 350, 345
       See application file for complete search history.                             19 Claims, 5 Drawing Sheets




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                              FIGURE 1
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                              1.                                                                  2
         METHOD AND SYSTEM FOR WLAN                                   With a CSMA protocol, a station desiring to transmit
              SYNCHRONIZATION                                      senses the medium. If the medium 20 is busy (i.e., some other
                                                                   station is transmitting), then the station will defer its trans
                RELATED APPLICATIONS                               mission to a later time. If the medium is sensed free or avail
                                                                   able for transmission, then the station is allowed to transmit.
  The present application is a divisional application and          These kinds of protocols are effective when the medium is not
claims the priority under 35 U.S.C. S120 of U.S. application       heavily loaded, since it allows stations to transmit with mini
Ser. No. 11/943,297, filed Nov. 20, 2007, now U.S. Pat. No.        mum delay. However, there is a chance of stations transmit
8,023,495 which is allowed, and is a continuation and claims       ting at the same time (collision), caused by the fact that the
the priority under 35 U.S.C. S 120 of U.S. application Ser. No. 10 stations sensed the medium free and decided to transmit at
1 1/102,436, filed Apr. 8, 2005, which is abandoned. These OCC.
previous related applications are hereby incorporated by ref          These collision situations should be identified, so that the
erence in their respective entireties.                             MAC layer can retransmit the packet by itself and not by
                       BACKGROUND                               15 upper layer, which would cause significant delay. In the Eth
                                                                   ernet case, this collision is recognized by the transmitting
   1. Field of the Invention                                       stations which go to a retransmission phase base on an expo
   The present invention is directed to telecommunications. nential random backoff algorithm. While these Collision
More particularly, the present invention is directed to meth Detection mechanisms are a good idea on a wired LAN. Such
ods and systems for synchronizing Access Points within a Collision Detection mechanisms are typically difficult to
Wireless Local Area Network. However, aspects of the inven implement in a Wireless LAN environment. For example,
tion may be equally applicable in other scenarios as well.         implementing a Wireless LAN based Collision Detection
   2. Description of Related Art                                   Mechanism would require the implementation of a Full
   Over the recent years, the market for wireless communica Duplex radio, capable of transmitting and receiving at once.
tions has enjoyed tremendous growth. Wireless technology 25 Such a full duplex approach would also tend to increase the
now reaches or is capable of reaching virtually every location complexity and price of the system significantly.
on the face of the earth. One reason for this tremendous              In addition, on a wireless environment one cannot assume
growth has been the IEEE wireless Local Area Network             that a JI stations hear each other. This is generally a basic
(“LAN) standard 802.11.                                          assumption of the Collision Detection scheme. The fact that a
   An 802.11 LAN is based on a cellular architecture where 30 station willing to transmit and senses the medium free, does
the system is subdivided into cells. Each cell or Basic Server not necessarily mean that the medium is free around the
Set (“BSS) is controlled by a Base Station. This Base Station receiver area. In order to overcome these two concerns, the
is often referred to as an Access Point (AP). Even though a 802.11 uses a Collision Avoidance mechanism together with
wireless LAN may be formed by a single cell, with a single a Positive Acknowledge scheme. In this Positive Acknowl
Access Point, and in certain arrangements it can also work 35 edge scheme, a station willing to transmit senses the medium
without an Access Point. Generally, however, most LAN is busy then it defers transmission. If the medium is free for a
installations will comprise several cells. The Access Points specified time (called DIFS, Distributed Inter Frame Space),
connected through some kind ofbackbone called Distribution then the station is allowed to transmit.
System (“DS”), typically Ethernet, and in some cases wire           A receiving station will check the CRC of the received
less itself.                                                  40 packet and send an acknowledgment packet (ACK).
   The whole interconnected Wireless LAN including the Receipt of the ACK will indicate to the transmitter that no
different cells, their respective Access Points and the Distri collision occurred. If the sender does not receive the acknowl
bution System, is seen to the upper layers of the OSI model, edgment then it will retransmit the fragment until it gets
as a single 802 network, and is called in the Standard an acknowledged or thrown away after a given number of
Extended Service Set (“ESS”).                                 45 retransmissions.
   The standard also defines the concept of a Portal where a        In order to reduce the probability of two stations colliding
Portal is a device that interconnects between an 802.11 and      because they cannot hear each other, 802.11 defines a Virtual
another 802 LAN. This concept is an abstract description of Carrier Sense mechanism. A station willing to transmit a
the functionality of a “translation bridge.” As any 802.x pro packet will first transmit a short control packet called RTS
tocol, the 802.11x protocol covers that MAC and Physical 50 (Request to Send). The RTS includes the source, destination,
Layer, the Standard currently defines a single MAC which and the duration of the following transaction (i.e., the packet
interacts with three PHY's (all of them running at 1 and 2 and the respective ACK). The destination station responds (if
Mbit/s up to 54 Mbit/s). Frequency hopping spread spectrum the medium is free) with a response control Packet called CTS
in the 2.4 Ghz Band, Direct Frequency Spread Spectrum in (“Clear to Send'). The CTS will include the same duration
the 2.4 GHz Band, and Infrared. Beyond the standard func 55 information.
tionality usually performed by MAC Layers, the 802.11               Stations receiving either the RTS and/or the CTS, will set
MAC performs other functions that are typically related to their Virtual Carrier Sense indicator (called NAV. for Network
upper layer protocols, such as Fragmentation, Packet Allocation Vector), for the given duration, and will use this
Retransmissions, and Acknowledges. The MAC Layer information together with the Physical Carrier Sense when
defines two access methods, the Distributed Coordination 60 sensing the medium. This mechanism reduces the probability
Function and the Point Coordination Function.                    of a collision on the receiver area by a station that is “hidden'
  The basic access mechanism, called Distributed Coordina          from the transmitter, to the short duration of the RTS trans
tion Function, is a Carrier Sense Multiple Access with Colli    mission, because the stations will hear the CTS and “reserve”
sion Avoidance mechanism (“CSMA/CA). CSMA proto the medium as busy until the end of the transaction. The
cols are known, where the most popularis the Ethernet, which 65 duration information on the RTS also protects the transmitter
is a CSMA/CD protocol (CD standing for Collision Detec area from collisions during the ACK (by stations that are out
tion).                                                          of range from the acknowledging stations).
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  Because RTS and CTS are short frames, it also reduces the         current position of the station). Only after the association
overhead of collisions, since these are recognized faster than      process is completed, a station is capable of transmitting and
it would be recognized if the whole packet was to be trans          receiving data frames.
mitted, (this is true if the packet is significantly bigger than the   Stations need to keep synchronization since this is needed
RTS, so the standard allows for short packets to be transmitted     for keeping hopping synchronized, and other functions like
without the RTS/CTS transaction, and this is controlled per         Power Saving. On an infrastructure BSS this is performed by
station by a parameter called RTS Threshold.                        all the stations updating their clocks according to the AP’s
   Typical LAN protocols use packets of several hundred of          clock. This synchronization occurs as the AP transmits peri
bytes (e.g., Ethernet longest packet could be up to 1518 bytes 10 odic frames called Beacon Frames. These Beacon Frames
long), ona Wireless LAN environment there are some reasons contain the value of the AP's clock on the moment of trans
why it would be preferable to use smaller packets. For mission.
example, because of the higher Bit Error Rate of a radio link,          Note that this is the moment when the transmission really
the probability of a packet to get corrupted increases with the occurs, and not when it is put in the queue for transmission,
packet size. In addition, in the case of packet corruption 15 since the Beacon Frame is transmitted using the rules of
(either because of collision or noise), the smaller the packet CSMA, the transmission may be delayed significantly.
the less overhead it causes to retransmit it. In addition, on           The receiving stations check the value of their clock at the
Frequency Hopping system, the medium is interrupted peri receiving moment and correct it to keep synchronizing with
odically for hopping (in our case every 20 milliseconds), so the AP's clock. This prevents clock drifting which could
the smaller the packet, the smaller the chance that the trans cause loss of synchronization after a couple hours of opera
mission will be proposed to after the dwell time.                    tion.
   The mechanism is a simple Send-and-Wait algorithm,                   In a typical wireless network, such as a Wireless Local Area
where the transmitting station is not allowed to transmit a new Network (“WLAN) system, 15 each Access Point (AP)
fragment until one of the following happens: receives an ACK will have its own internal clock. Each independent clock will
for the said fragment or decides that the fragment was retrans 25 also define the Time Division Multiplexing (“TDMA) tim
mitted too many times 15 and drops the whole frame.                  ing of the SSID area that this AP covers. Consequently, this
   Exponential Backoff is a method that attempts to resolve means that all AP's, provided in a certain WLAN SSID area,
contention between different stations willing to access a will be not be synchronized. Consequently, these unsynchro
medium. The method requires each station to choose a Ran nized BSS cells may interfere with one another. These unsyn
dom. Number n between 0 and a given number. Then, wait for 30 chronized BSS cells will interfere with each other even if they
this number of Slots before accessing the medium, and then are operating on the same channels or alternatively adjacent
checking whether a different station has accessed the medium yet different channels.
before. The Slot Time is defined in such a way that a station           In an effort to reduce such interference concerns, it is
will be capable of determining if another station has accessed generally known that the overall system throughput may be
the medium at the beginning of the previous slot. This reduces 35 improved when there is at least beacon synchronization and
the collision probability by half.                                   scheduling between all stations in the ESS environment.
   Exponential Backoff means that each time the station Existing mechanisms like fragmentation, data rate back-off.
chooses a slot and happens to collide, it will increase the adaptive contention window threshold, as other mechanisms,
maximum number of the random selection exponentially. will help improve the system throughput to a certain extent.
802.11 defines Exponential Backoff Algorithm that will be 40 However, there is, therefore, a general need for a method and
executed in the following case. Where, if when the station system for synchronizing WLAN APs. There is also a general
senses the medium before the first transmission of a 5 packet, need for a method and system for synchronizing WLAN APs
and the medium is busy.                                              while also improving system capacity and QoS by utilizing
   When a station wants to access an existing BSS (either after AP synchronization and beacon scheduling.
power-up, sleep mode, or just entering the BSS area), the 45
station needs to receive synchronization information from an                                   SUMMARY
Access Point (or from the other stations when in an ad-hoc
mode). The station can get this information by one of two               According to an exemplary embodiment, a method of syn
means: passive scanning or active scanning. First, it may 10 chronizing a first Access Point and a second Access Point is
get this information by passive Scanning. In the passive scan 50 provided to increase an overall system capacity due to a
ning case, the station waits to receive a beacon frame from the reduction of inherent packet collisions in an un-synchronized
AP. The beacon frame is a periodic frame sent by the AP with WLAN deployment. Preferably, the method comprises the
synchronization information.                                         steps of deploying the first and the second Access Point within
   Alternatively, active scanning may be used where a station a wireless network and utilizing the first Access Point to
tries to find an AP by transmitting Probe Request Frames, and 55 detect a presence of the second Access Point. A first periodic
waiting for Probe Response from the AP. Either of these Beacon Frame of the first Access Point is synchronized with
methods may be chosen according to the power consumption/ a first periodic Beacon Frame of the second Access Point.
performance itself                                                      According to another exemplary embodiment, a system for
   Once the station has found an AP, and the station has             synchronizing a wireless cellular architecture is provided.
decided to join the AP's BSS, the station will go through the 60 This system includes a first Access Point and a second Access
Authentication Process. This Process is an interchange of Point deployed in the wireless cellular architecture. A pres
information between the AP and the station, where each side          ence of the second Access Point is detected by the first Access
proves the knowledge of a given password.                            Point. A first periodic Beacon Frame of the first Access Point
   When a station is authenticated, then the station will start      is synchronized with a first periodic Beacon Frame of the
the Association Process. This process is the exchange of 65 second Access Point.
information about the stations and BSS capabilities, and                These as well as other advantages of various aspects of the
which allows the DSS (the set of APs to know about the present invention will become apparent to those of ordinary
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 skill in the art by reading the following detailed description,    can not be ignored. The data rate Backoff Mechanism dis
 with appropriate reference to the accompanying drawings.           cussed above generally may help in reducing this IS corrup
                                                                    tion issue to a certain degree.
       BRIEF DESCRIPTION OF THE DRAWINGS                               There are a variety of scenarios that may arise for which
                                                                    CSMA/CA initiates the Backoff scenario. These scenarios
    An exemplary embodiment of the present invention is will result in reduced capacity or where interference can
 described herein with reference to the drawings, in which:        occur regardless of CCA. Consequently, because of Such
    FIG. 1 illustrates one arrangement for an ESS comprising interference, there is a general likelihood that data packages
 a plurality of AP's operating on various channels;                will be destroyed and that further packet retransmission will
                                                                10 be required.
    FIG.2 provides one illustration of various transmitted Bea
 con Frames from a plurality of unsynchronized Access                 FIG. 1 illustrates one arrangement for an ESS 10 compris
 Points;                                                           ing a plurality of APs operating on various channels. ESS 10
                                                                   comprises
    FIG. 3 illustrates beacon timing graphs from two AP hav the same channel   a plurality of APS Some of which are operating on
 ing inconsistent clock frequencies;                                                   and some of which are not operating on the
                                                                15 same channel. More specifically, ESS 10 comprises APs oper
    FIG. 4 illustrates a plurality APs (and/or ACs) transmitting ating on channels 1, 6, and 11. The first dotted line of each AP
 over different channels; and                                      is indicative of 11 Mbps coverage. Note that two coverage
    FIG. 5 illustrates an arrangement of sequential beacons.       areas of 1 Mbps coverage areas are also shown. The first 1
                  DETAILED DESCRIPTION
                                                                   Mbps coverage 38 is shown for AP16 and the second 1 Mbps
                                                                   coverage area 28 is illustrated for AP 30.
    There are several interference scenarios which can arise in
                                                                      ESS 10 comprises a first set of APs operating on channel 1
 a BSS/ESS and related interference characteristics that will
                                                                   (AP  22, 26, and 36), a second set of APs operating on channel
                                                                   6 (AP 16, 18, and 30), and a third set of APs operating on
 need to be discussed. Each interference scenario depends how channel 11 (AP12, 20, 24). Note the spatial orientation of the
 the pathloss and selectivity filter works out.                 25 APs operating of the different channels. The locations of the
    Pathloss is calculated as follows:                             various APs in ESS 10 present a number of interference
    Pathloss (PL)=(32.4+20 log F (MHz)+20 log D (km)), possibilities.
 where F is the Frequency in MHZ and D is the Distance in             For example, one Such interference scenario arises where
 Kilometers.                                                       AP's are operating on the same channel and these APs will
    In one arrangement, where F-2.4 GHz, this results in a 30 interfere with one another. For example, referring to FIG. 1,
 path-loss: PL=32.4+67.6+20 log D                                  AP 16 and AP 30 are both operating on channel 6 and will
    R-radius of the coverage circle (axMbps, Xe 1.2.5.5.11, consequently interfere with one another as illustrated by the
 6.9,12,18,24.36.48.54}                                            11 Mbps coverage area for AP16 and 30. The 1 Mbps power
    SIR,        SIR required to get |O PER for xMbps at a R' level 38 of AP 16 is illustrated as overlapping with the 11
 radius with adjacent/alternate channel int reference           35 Mbps power level of 15 client 32 residing in AP 30 coverage
   SIR,       SIR required to get |O PER for xMbps at a R'          aca.
 radius with co-channel int reference                                  Another interference scenario will arise where AP's are
   SIR,       SIR 4.6 dB (with ideal sphere packing)                operating on different channels and will interfere with one
    In the above equations, SIR represents a signal to inter another. For example, the cluster of three AP's 36, 30, 24
 ference ratio that arises between two cells that are operating 40 operating on channels 1, 6, and 11, respectively, will interfere
 on different or alternate channels. And SIR represents a with one another. Therefore, client 34 residing between these
 signal to noise ratio that may arise between two cells that are three APs will experience interference from two out of these
 operating on the same or similar channels. Regarding the three APs (one AP is the AP it communicates with).
 SIR case (i.e., adjacent/alternate channel interference), a          Another interference scenario will arise where the APs
 selectivity filter attenuates the signal in general by about 35 45 operating on different channels interfere with one another as
 dB. Each multi channel radio system, such as 802.11, has adjacent and alternate channel interference. Such interfer
 minimal requirements on how much the adjacent and alter ence may be seen by the various Small dashed circles defining
 nate channels has to be suppressed by the selectivity filter. Its the operating area of each AP. Yet another interference situa
 up to the radio vendor how much they want to improve on this. tion arises where a client detects an AP on the same channel
 Such is generally not the case for the SIR case (co-channel 50 but is not necessarily associated with that particular detected
 interference). So at the boundary of the coverage circles for AP. For example, referring back to FIG. 1, such an interfer
 e.g. Rss (to allow some coverage overlap for R1 and R2, ence situation could arise for client 32 by the 1 Mbps operat
 required for roaming), the co channel interference cell results ing coverage of AP 16, resulting in co-channel interference. A
 in about 30 dB more interference than the adjacent channel similar interference situation could arise where a client
 cells. This is an important phenomenon when considering 55 detects AP's on different channels. For example, a client
 Access Point deployment within a BSS or ESS.                       could detect AP 16 operating on channel 6 while also detect
    The change of Access Points interfering with one other. In ing AP 36 operating on channel 1.
 a normal Access Point deployment scenario, the various AP’s          Another concern that may arise occurs where a client inter
 will be located generally e.g. about 20 to 25 meters apart from feres with a client(s) on same channels of different BSS. And
 each other. With Such a general placement location, this 60 yet another concern is client interference with clients on
 would mean that the signals received from a first AP by a different channels of a different BSS.
 second AP (operating on a different channel) will be about           Typically, in an ordinary BSS or ESS layout, AP's operat
 -80 dBm. This value may be calculated using the pathloss PL ing on a similar channel will be located further away as that is
 formula +35 dB for selectivity filter provided above. The the only “selectivity” mechanism available to reduce interfer
 sensitivity of 1 Mbps can be around-93 dBm. This indicates 65 ence. Typically, adjacent and alternate channels can be
 that the change that every received package will be corrupted located closer to each other as the selectivity filter will enable
 due to an AP in the vicinity operating on a different channel that. In general a selectivity filter can Suppress approximately
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 35 dB for an alternate channel, and can Suppress somewhat          the effect if two clocks having different frequencies. Such
 less for an adjacent channel. Consequently, an AP on an            inconsistent clock frequencies may be due to the 25 or 20 ppm
 alternate channel may be located on the order of approxi           clock accuracy requirement.
 mately 5 to 6 times closer to the AP under consideration, then       As shown in FIG. 3, the frame 82 of a first AP (such as AP
 cochannel AP. Therefore, in a typical BSS/ESS cellular             16 in FIG. 1) may be slightly shorter than frame 84 for a
 deployment, such as the cellular deployment depicted in FIG.       second AP (such as AP 36 in FIG. 1), having the exact same
 1, co-channel AP's have a higher chance to interfere with each     amount of bits/symbols in the frame. Such a frame difference
 other.                                                              is due to the clock differences between the two APs. Conse
   As previously discussed, WLAN uses DCF as the control             quently, there is a first difference delta 86 that quantifies the
 method to allow clients to have access on the BSS. Within 10 difference in frames between the first and second frames 82
 these BSS, clients are time synchronized to a specific AP with      and 84, respectively. Therefore, over a certain period of time,
 whom they are associated with. All other clients and AP's in        the frames from the first AP may slide over the frames from
 a ESS deployment are not synchronized with each other. For          the second AP2. For example, in one arrangement comprising
 Example, AP's illustrated in FIG. 1 are not synchronized with       a system having a 25 ppm clock accuracy, this may result in a
 one another.                                                     15 time slip of about 5 minutes that two frames will side over
    Stations within a BSS need to keep synchronization, this is each other from beginning to end. For example, after a certain
 needed for keeping hopping synchronized, and other func period of time, there will be a second difference delta 88
 tions like Power Saving. On an infrastructure BSS this is between the two frames 82 and 84. The effect mentioned
 performed by all the stations updating their clocks according above is very much present for all the beacons sent out by the
 to an AP clock. This synchronization occurs as the AP trans APS
 mits periodic frames called Beacon Frames. These Beacon                As there are a number of potential interference scenarios
 Frames contain the value of the AP's clock on the moment of         present in a WLAN system where APs are not synchronized,
 transmission. Not that this is the moment when the transmis         and as a WLAN system has a highly random behavior, only
 sion really occurs, and not when it is put in the queue for one case will be highlighted to give some qualitative insight.
 transmission, since the Beacon Frame is transmitted using the 25 Eventually extensive discrete event simulation can be used to
 rules of CSMA, the transmission may be delay significantly. determine the detailed improvements for different scenarios
    The receiving stations check the value of their clock at the and applications.
 receiving moment and correct it to keep synchronizing with             For example, when client 32, in FIG. 1, is associated with
 the AP's clock. This prevents clock drifting which could AP30, the beacons of the other APs, such as AP36 and AP 20,
 cause loss of synchronization after a couple hours of opera 30 can interfere with the data frames transmitted by 15 AP30 and
 tion. Within a ESS, the stations from one BSS with a other          intended for client 32. This provides that e.g. the beacon
 BSS will however not be synchronized.                               power of AP36, received at client32, may be above a Gaus
    FIG. 2 provides one illustration 50 of how various trans sian noise floor when client 32 receives that power. This
 mitted Beacon Frames from a plurality of unsynchronized would results in client 32 having a lower data rate or even
 Access Points may interrupt or corrupt a data packet in an 35 loosing data package send out by AP 30.
 ESS, such as the ESS illustrated in FIG.1. As shown in FIG.            There are several ways to eliminate this un-synchronized
 2, four beacon timing graphs 52, 54,56, and 58 are illustrated. packet interference phenomena between different BSS cells.
 Beacontiming graphs 52,54,56, and 58 are generated by four A first ideal solution is a complete synchronous TDMA
 different APs operating in a ESS. For example, in one approach over an ESS. This should be done for each AP and
 arrangement, beacon timing graph 52 could be generated by 40 each Access Controller (“AC). An access controller, also
 an AP operating on channel 1, beacon timing graph 54 could referred to as a wireless Switch, can be considered as a Sub
 be generated by an AP operating on channel 6, beacon timing ESS. Within an AC, the timing control of packet is much
 graph 56 could be generated by an AP operating on channel better than for fit (standalone AP) AP's as each fit AP (fit AP:
 11, and beacon timing graph 58 could be generated by an AP AP's controlled by the AC), inherently has a tight control with
 operating on yet another different channel.                      45 the AC. But between different AC's the same problem exist as
    Since each of the four APs are operating on a different between fat AP's. So the synchronization and scheduling
 channels, each AP will generate a different beacon timing mechanism should be applicable for both fat AP's as AC’s
 graph. The top most timing graph 52 a first beacon timing over different BSS and even ESS deployments.
 graph from a first AP, a second beacon timing graph from a             As each fit AP and AC can be considered independent stand
 second AP, and a third beacon timing graph from a third AP. 50 alone units, they must synchronize amongst one another.
 As shown intiming graph 52, the beacons from three different Synchronization may be accomplished among the plurality of
 AP are not synchronized and arise at different times. For APs and ACs comprising the ESS by having these entities
 example, in this arrangement, beacon 52 from a first AP communicate amongst themselves. There are a number of
 occurs at time t1 while the second beacon 54 from a second          methods for Such communication. For example, in one
 AP occurs at time t2, a third beacon 56 from a third beacon 3 55 arrangement, the APs and ACS synchronize with each other
 occurs at time t3, and yet the fourth beacon occurs at time ta. by methods used in Bluetooth, DECT, GSM, etc.
    The fifth timing graph 60 in FIG. 2 illustrates a timing of a       These methods use the following approach: during acqui
 data package 62 received from a fifth AP Comparing the five sition/bootstrapping each AP and/or AC scans the operating
 timing graphs 52, 54, 56, 58, 60, it can be seen that the environment for other APs or ACs. When there is no other AP
 beacons generated by the first AP, the second AP and the 60 or AC present, the AP or AC it simply begin a normal opera
 fourth AP's interfere with the data 62 received by the fifth AP tion. Alternatively, if the AP or AC determines during the
 in this unsynchronized ESS.                                         acquisition or bootstrapping process that there is another
    The beacon timing interference concerns as illustrated in AP/AC present, the AP it will synchronize to it such that its
 FIG. 2, will not occur at fixed time instances. This relates to     own beacons will not collide with the beacons of the other
 the accuracy of the AP clock frequencies. For example, FIG. 65 APs and ACs.
 3 illustrates clock timing graphs from two AP's having incon      Over the air synchronization will inherently protect syn
 sistent clock frequencies. More specifically, FIG.3 illustrates chronization for its associated client with respect to neigh
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 borhood BSSS/EES's cells. An AC, which does not use over            lowest detected RSSI, the first AP will synchronize to that
 the air synchronization, but only uses hardware synchroniza         second AP. In this manner, when the first AP commences
 tion, can’t guarantee this as it will not adjust itself to other    transmission of its beacons, the first and the second AP will
 AC’s or fit AP's.                                                   transmit at the same time. However, the second AP will alter
    One method of synchronizing AP's that preserves overall its channel before it starts transmitting its beacons.
 system bandwidth comprises the steps of combining beacons          Other solutions schedule the beacons transmission one
 of various APS and ACs in a sequential manner. Such a after the other for each AP in succession. One disadvantage of
 sequential arrangement may depend on certain factors. For Such an approach is that this approach requires more band
 example, such a sequential arrangement may depend on the width. One advantage of the present Solution versus Such
 size and/or the number of AP's deployed within a specific 10 other approaches is that it results in beacon times being on
 BSS or ESS                                                      average of about 300 us. Therefore, to utilize such beacon
    For example, FIG. 4 illustrates a ESS comprising a plural transmission schemes for a 48 port AC, it will take approxi
 ity APs operating on three different channels. In the ESS mately 14 ms to synchronize these beacons in the proper
 arrangement illustrated in FIG. 4, these three channels sequence. Consequently, this will consume 14% of the avail
 include 1, 6, and 11. For example AP 104 is operating on 15 able capacity/bandwidth. If the beacons are scheduled based
 channel 11, AP 106 is operating on channel 1, and AP 108 is upon channel clustering as suggested above, it will only con
 operating on channel 6. Preferably, the plurality of APs illus sume approximately 1% of the available capacity for 802.11b
 trated in FIG. 4 are so configured in an attempt to reduce band g.
 adjacent/alternate channel interference as well as co-channel      To optimize this scheduling a second mechanism is pro
 interference. As those of ordinary skill in the art will recog posed and that involves accurate synchronization. Such a
 nize, however, alternative arrangements and/or deployments mechanism may be used to optimize the timing of CCA
 may be used as well.                                            approach in CSMA/CA. For example, regarding compensat
    In an arrangement comprising a large deployment of APs, ing round trip delay for VoIP clients. When a packet is sent
 there may be many channel 1, 6 and 11 clusters defined. In from an AP to a client, the air propagation delays reception.
 such an arrangement as illustrated in FIG.4, AP132,134,130 25 After the VoIP client transmits back it’s voice data, the same
 operating on channels 1, 6 and 11, respectively are configured propagation delay will exist. This delay will be different for
 with the same cross hatching and therefore may define a first each client in a BSS (some are close to the AP, others are
 beacon cluster 111 (cluster 111 is not referred to anything. It further away). To optimize expectation of reception and to
 should refer to FIG. 5 cluster 152). Although these three APs reduce jitter (and indirectly system capacity), accurate timing
 132, 134, and 130 are operating on different channels (i.e., 30 is required.
 channel 6 for AP132, channel 11 for AP134 and channel 1 for            To reduce the number of times that fat AP's and AC's need
 AP 130), these APs will be synchronized so that they will to update their synchronization with its environment. The
 transmit their respective beacons at the same time.                 lower the ppm, the less scan efforts needs to be performed.
    Similarly, AP 120, 124, and 122 operating on channels 1, 6 This will result in a reduced demand for bandwidth.
 and 11, respectively are configured with the same cross hatch 35 In an alternative arrangement where the WLAN system is
 ing and therefore may define a second beacon cluster 154 operating in a PCF or HCF mode, for certain critical real time
 (FIG. 5). Although these three APs 120, 124, and 122 are applications like VoIP, the AP sends out a voice packet to a
 operating on different channels (i.e., channel 1 for AP 120, VoIP client. For ideal Quality of Service and system perfor
 channel 6 for AP 124 and channel 11 for AP 122), these APs mance, it is required that the AP knows when to receive a
 will be synchronized so that they will transmit their respective 40 packet back. As the time of the voice packet and the time of
 beacons at the same time.                                           the handset processing time are known, the only variables are
    In an arrangement where only a small number of APS may air propagation and Xtal offset between the stations. As the
 be used, each AP may define a separate cluster. For example, handset listens to the beacons, it can then self synchronize its
 in a system illustrated in FIG. 4, AP 104 may define a first own internal clock (VCXO). Consequently, this results in
 cluster, AP106 may define a second cluster, and AP 108 may 45 getting the clock of the AP and the clock of the handset
 define a third cluster. Then, in Such an arrangement, a first synchronized to less than approximately 0.1 ppm. This accu
 beacon signal will be transmitted by AP 104, while the second rate synchronization approach is used in wireless TDMA
 beacon signal will be transmitted by the second AP 108 while systems throughout the industry and is considered common
 a third beacon signal will be transmitted by AP 106.                knowledge.
    FIG. 5 illustrates an arrangement 150 of a plurality of 50 Exemplary embodiments of the present invention have
 sequential beacons. As illustrated in FIG. 5, three beacon been described. Those skilled in the art will understand, how
 signals 152, 154, and 156 are provided. Each beacon signal ever, that changes and modifications may be made to these
 152, 154, and 156 is related to one of the AP clusters defined      embodiments without departing from the true scope and spirit
 in FIG. 4. For example, for beacon cluster 102, a first beacon of the present invention, which is defined by the claims.
 signal 152 may be representative of AP 104, while the second 55 What is claimed is:
 beacon signal 154 is representative of the second AP 108              1. A first access point for a multi-channel radio system, said
 while the third beacon signal may be representative of AP first access comprising:
 106.                                                                   a wireless transceiver to send and receive data; and
    There are a number of assignment algorithms that may be             a clock,
 used in an arrangement comprising a randomly deployed 60               said first access point to:
 environment of APs, such as the AP deployment illustrated in              Scan the multi-channel radio system to receive beacon
 FIG. 4. For example, in one arrangement, a first AP listens to              signals transmitted from other access points operating
 an ambient environment and detects the other deployed AP’s                  in the multi-channel radio system;
 since these are transmitting beacons. The first AP performs              determine a Received Signal Strength Indication (RSSI)
 this scanning on all channels (1, 6, and 11 for the 2.4 GHz 65              level for each beacon signal received from another
 ISM band, or all the 5 GHZ channels for 802.11a). When the                  access point operating in the multi-channel radio sys
 beacon of a second AP is received at a RSSI level which is the              tem;
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                              11                                                                        12
      identify a second access point from which a beacon                 determine a Received Signal Strength Indication (RSSI)
         signal was received having a lowest RSSI level of all              level for each beacon signal received from another
          beacon signals received from other access points in               access point operating in the multi-channel radio sys
         the multi-channel radio system; and                                tem;
       Synchronize said clock with the second access point               identify an access point from which a beacon signal was
          Such that a beacon signal transmitted by the first                received having a lowest RSSI levelofall beacon signals
          access point is transmitted at the same time as a bea             received    from other access points in the multi-channel
                                                                            radio system; and
          consignal from the second access point.                        synchronize with that access point having the lowest RSSI
    2. The access point of claim 1, wherein the first access point 10       level such that a beacon signal transmitted by the first
 scans all channels of the multi-channel radio system to                    access point is transmitted at the same time as a beacon
 receive beacon signals from other access points in the system.             signal from the access point having the lowest RSSI
    3. The access point of claim 1, wherein said first access               level.
 point, after synchronizing with the second access point, oper           13. The access point of claim 12, wherein the first access
 ates on a different channel than the second access point.         15
                                                                      point  scans all channels of the multi-channel radio system to
    4. The access point of claim 1, wherein said first access receive    14. The
                                                                                beacon signals from other access points in the system.
                                                                                    access point of claim 10, wherein said first access
 point, before synchronizing with the second access point, point, before                synchronizing with the second access point,
 operates on a different channel than the second access point. operates on a different            channel than the second access point.
    5. The access point of claim 1, wherein the first access point       15. The access point of claim 10, wherein the first access
 scans 5 GHZ channels defined by the 802.11a standard.
    6. The access point of claim 1, wherein the first access point point     transmits on a 5 GHz channel defined by the 802.11a
                                                                      standard.
 scans channels of 2.4 GHz Industrial, Scientific and Medical
 (ISM) radio bands.                                                      16. The access point of claim 10, wherein the first access
    7. The access point of claim 1, wherein the first access point point
                                                                      and
                                                                             transmits on a channel of 2.4 GHz Industrial, Scientific
                                                                           Medical     (ISM) radio band.
 is a carrier sense multiple access with collision avoidance 25 17. The access               point of claim 10, wherein the first access
 (CSMA/CA) access point.                                              point  is  a carrier  sense  multiple access with collision avoid
    8. The access point of claim 1, wherein the first access point
 transmits beacon signals comprising a value of the clock of ance           (CSMA/CA) access point.
                                                                         18. Access points for a multi-channel radio system, each
 the first access point at a time when the first access point access           point comprising a wireless transceiver to send and
 transmits that beacon signal.                                     30
                                                                      receive   data; and a clock, comprising:
    9. The access point of claim 1, wherein synchronizing with           a first access point to:
 the second access point comprises adjusting the clock of the               scan the multi-channel radio system to receive beacon
 first access point using clock data in the beacon signal                       signals transmitted from other access points operating
 received from the second access point.                                         in the multi-channel radio system;
    10. A first access point for a multi-channel radio system, 35           determine a ReceivedSignal Strength Indication (RSSI)
 said first access comprising:                                                  level for each beacon signal received from another
    a wireless transceiver to send and receive data; and                       access point operating in the multi-channel radio sys
    a clock,
    said first access point to:                                                tem;
       transmit a beacon signal, said beacon signal comprising 40           identify a second access point from which a beacon
          a value of the clock of the first access point at a time              signal was received having a lowest RSSI level of all
          when the first access point transmits that beacon sig                beacon signals received from other access points in
          nal,                                                                 the multi-channel radio system; and
       Such that a second access point operating in the multi               Synchronize with the second access point such that a
          channel radio system synchronizes a clock of that 45                 beacon signal transmitted by the first access point is
          second access point by extracting the time data from                  transmitted at the same time as a beacon signal from
         the beacon signal of the first access point and adjust                the   second access point; and
          ing the clock of the second access point in accordance         said second access point to:
         with that time data from the beacon signal of the first            transmit said beacon signal having a lowest RSSI level at
          access point.                                            50
                                                                                said first access point, that beacon signal comprising a
    11. The access point of claim 10, wherein said first access                 value  of the clock of the second access point at a time
 point transmits on a first channel prior to synchronizing with                when the second access point transmits that beacon
 said second access point and then changes to transmit on a                     signal.
 Second channel after synchronizing with said second access access pointaccess
                                                                         19.  The             points of claim 18, wherein said second
                                                                                      transmits   on a first channel prior to synchroniz
 point.                                                            55
    12. The access point of claim 10, the first access point to       ing with said first access point and then changes to transmit on
    Scan the multi-channel radio system to receive beacon sig point.  a second channel after synchronizing with said first access
       nals transmitted from other access points operating in
       the multi-channel radio system;                                                        ck   ck   ck     k  ck
